           Case 2:17-cv-01731-TSZ Document 185 Filed 11/01/19 Page 1 of 8




 1                                                THE HONORABLE THOMAS S. ZILLY

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 5
                                 U.S. DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                               NO. 2:17-cv-01731-TSZ
 9                          Plaintiff,
                                                 DEFENDANT’S SUPPLEMENTAL
                                                 REPLY IN SUPPORT OF
10         vs.
                                                 MOTION FOR SUMMARY
11                                               JUDGMENT AND MOTION TO
     JOHN DOE, subscriber assigned IP
                                                 STRIKE
12   address 73.225.38.130,

13                          Defendant.

14
     JOHN DOE subscriber assigned IP
15   address 73.225.38.130,
16                          Counterclaimant,
17
           vs.
18
     STRIKE 3 HOLDINGS, LLC,
19
                            Counterdefendant.
20

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     DEFENDANT’S SUPPLEMENTAL REPLY IN SUPPORT
                                                          TERRELL MARSHALL LAW GROUP PLLC
     OF                                                         936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                Seattle, Washington 98103-8869
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 1                                              I. INTRODUCTION
 2
              Strike 3 bears the burden of proof on Doe’s counterclaim for declaration of non-
 3
     infringement. Aside from Doe’s status as the subscriber of the infringing IP address,1 Strike 3
 4
     failed to produce any evidence that Doe infringed. Hence, Doe moved for summary judgment.
 5
              Strike 3 opposed Doe’s motion because it had not examined Doe’s hard drive, even
 6
     though forensic examiner, Michael Yasumoto, analyzed Doe’s hard drive and concluded that it
 7
     did not contain Strike 3’s movies. On reply, Doe suggested that the Court allow Strike 3 to
 8
     conduct its own search of Doe’s hard drive to confirm Mr. Yasumoto’s opinion.
 9
              The Court agreed, and authorized Strike 3 to conduct a limited search for “existing
10
     and/or deleted files matching the hash values set forth in Exhibit A to the Complaint, docket no.
11
     1.” Dkt. No. 182. After its examination, Strike 3 was authorized file a supplemental response
12
     “relating solely to the examination of defendant’s ‘imaged’ hard drive….” Id.
13
              Doe offered up several dates for Strike 3 to examine the imaged hard drive but Strike 3
14
     never scheduled the examination. Since Strike 3 chose not to examine the hard drive, there was
15
     no basis to file supplemental briefing. Strike 3 did so anyway. Dkt. Nos. 183, 184.
16
              Strike 3’s brief attempts to completely recast the allegations in its Complaint—two
17
     years after-the-fact—providing further evidence that “Strike 3 bases its complaints on
18
     unequivocal affirmative representations of alleged facts that it does not know to be true.” Strike
19
     3 Holdings, LLC v. Doe, No. CV 18-12585, 2019 WL 5446239, at *1 (D.N.J. Oct. 24, 2019).
20
              Strike 3’s actions are inexcusable. Doe requests that the Court strike Plaintiff’s
21
     supplemental brief and the Declaration of Patrick Paige, enter summary judgment for Doe on
22
     his remaining counterclaim, and award Doe his attorneys’ fees and costs.
23
                                     II. AUTHORITY AND ARGUMENT
24
         A.   Relevant procedural history.
25
              On September 19, 2019, the Court entered an order that addressed Doe’s pending
26
     1
      Subscriber status alone is insufficient to withstand a motion to dismiss, let alone sustain a copyright infringement
27   claim through verdict. See Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142, 1145 (9th Cir. 2018).



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 1   summary judgment motion, and related discovery motions, including Strike 3’s motion to
 2   compel unrestricted access to Doe’s hard drive. Dkt. No. 182. The Order authorized Strike 3 to
 3   designate one expert to examine the “imaged” hard drive, if conducted within twenty-one (21)
 4   days at an agreed-upon facility. Dkt. No. 182. However, Strike 3’s request for unrestricted
 5   access to the hard drive was denied. Any search would be limited to Strike 3’s “existing and/or
 6   deleted files matching the hash values set forth in Exhibit A to the Complaint, docket no. 1.” Id.
 7   The Order expressly prohibited Strike 3 from taking possession of Doe’s imaged or original
 8   hard drive, or from viewing any other materials on the drives. Id. The Court renoted Doe’s
 9   summary judgment motion and permitted the parties to file targeted supplemental briefing
10   “relating solely to the examination of defendant’s ‘imaged’ hard drive.” Id.
11          Strike 3’s attorneys advised Doe “we want to proceed with the examination of your
12   client’s hard drive” and that Strike 3’s expert was “generally available.” Dkt. No. 183, Exh. 1.
13   Doe’s counsel responded with proposed dates. Id. Strike 3’s lawyers replied, noting that their
14   expert was “looking into the dates.” Id. When over a week went by without hearing from Strike
15   3, Doe’s counsel wrote: “We have not heard back from you regarding scheduling the
16   examination…. Please respond.” Id. Strike 3 replied, in relevant part: “[T]he hash values listed
17   in Exhibit A to the Complaint (Dkt. 1) are not hashes for the movie files themselves….” Id.
18          Strike 3’s email came as a shock because the Complaint alleged the exact opposite.
19   Exhibit A was the evidence, and “the file hash correlating to each file matched the file hash
20   downloaded by Defendant.” Dkt. No. 1 at ¶¶ 25-26. In no uncertain terms, Strike 3 explained
21   that “[t]he entirety of the digital media file … has a unique cryptographic hash value (‘file
22   hash’), which acts as a digital fingerprint identifying the digital media file (e.g. a movie).”
23   “Once infringers complete the downloading of all pieces which comprise a digital media file,
24   the BitTorrent software uses the file hash to determine that that the file is complete and
25   accurate.” Id. at ¶ 22. Strike 3 accused Doe directly, alleging that “Defendant downloaded,
26   copied, and distributed a complete copy of Plaintiff’s Works without authorization.” Id. at ¶ 27.
27


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 1          Doe directed Strike 3 to these allegations and asked Strike 3 to pick an examination
 2   date. Dkt. 183, Exh. 1. Strike 3 never replied, and the examination deadline came and went.
 3   B.     Strike 3’s Complaint never stated a claim for relief against anyone, let alone Doe.
 4
            The term “hash” refers to the use of a mathematical “hash function” using a file, text, or
 5
     any other data as input. One type of “hash function” is a “SHA1 hash”. This algorithm
 6
     produces a 40-character hexadecimal value like the ones listed in Exhibit A to the Complaint.
 7
     See Declaration of Michael Yasumoto in Support of Defendant’s Supplemental Reply, at ¶ 4.
 8
            A “file hash” can be used to uniquely identify a file and acts like a digital fingerprint.
 9
     Id. ¶ 5. When the “file hash” of a file located on storage media matches the hash of a reference
10
     file, the file hash can be considered evidence of infringed works. Id. ¶ 6. For this reason, it is
11
     best practice in computer forensics to calculate the hashes of the files on a storage device and
12
     then compare them against a target set in an infringement case. Id.
13
            “Info-hashes” are different from file hashes. They carry limited forensic value because
14
     they are not calculated from the infringing work itself. Id. ¶ 10. As Strike 3 concedes (Dkt. No.
15
     183, fn 1), info-hashes may help identify infringing files using a Google search, but they would
16
     not show that a defendant possessed all of a media file (as a file hash would). Yasumoto, ¶ 10.
17
            Until a few days ago, Strike 3 consistently represented that the hashes in Exhibit A were
18
     file hashes. See Dkt. No. 1 at ¶¶ 22-27. Strike 3’s investigator, Tobias Fieser, reiterated this
19
     point in his declaration when he testified that “IPP’s software determined that the files being
20
     distributed by Defendant’s IP Address have a unique identifier of the Cryptographic Hash
21
     outlined on Exhibit A.” Dkt. No. 4-3, ¶ 10. Now, two years into the litigation, Strike 3 admits
22
     that the hashes upon which its entire case hinges are not complete digital files after all. In truth,
23
     the hashes in Exhibit A do not prove that Doe (or anyone else) downloaded copies of its films.
24
     C.     The Court should strike Plaintiff’s supplemental response as moot.
25
            The Court’s September 19, 2019 Order was clear. Strike 3 could search the imaged hard
26
     drive for the hashes listed on Exhibit A, which Strike 3 alleged represented full copies of Strike
27


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 1   3’s films. Once Strike 3 completed the search, it could file a brief “relating solely to the
 2   examination of defendant’s ‘imaged’ hard drive.” Strike 3 chose not to examine the hard drive.
 3   As a result, any written response from Strike 3 is moot and should be stricken. Likewise, if
 4   Strike 3 was concerned about the scope of the examination described by the Court’s order, it
 5   could have moved for reconsideration, but Strike 3 chose not to do so. Finally, Strike 3 never
 6   made any meaningful effort to meet and confer with Doe. See Dkt. No. 183, Exh. 1.
 7   D.     The Court should strike the untimely declaration of Patrick Paige.
 8
            Courts will strike untimely expert declarations, and particularly those that purport to
 9
     introduce new methodologies that do not appear in their expert reports. Somerlott v. McNeilus
10
     Truck & Mfg. Inc., No. C16-789-MJP, 2017 WL 6459039, at *2 (W.D. Wash. Dec. 18, 2017)
11
     (striking expert declaration as untimely because it attempted to explain a methodology that
12
     “was not included in either his expert report or his deposition testimony”). The Declaration of
13
     Patrick Paige should be stricken for three reasons. First, the declaration is an improper rebuttal
14
     report. Strike 3 had ample opportunity during discovery to rebut Mr. Yasumoto’s opinion but
15
     chose not to do so. Second, Strike 3 already addressed Mr. Yasumoto’s report on summary
16
     judgment, where Strike 3’s only objection was his reliance on hearsay, an objection that rings
17
     hollow under Rule 703. Finally, the Court should strike Paige’s declaration because it purports
18
     to introduce a new methodology two years into the litigation. The methodology Paige proposes
19
     never appeared in any expert report produced and he did not testify about it in his deposition.
20
     Until a few days ago, Strike 3 had never asked Paige to prepare an expert report for this case.
21
     Dkt. No. 175-16 at p. 7. Instead, Strike 3 produced reports Paige wrote for other cases in 2013
22
     and 2016, neither of which address the question of how he would examine Doe’s hard drive.
23
     Dkt. No. 175-13. The Court should reject Strike 3’s attempt to introduce new opinions now.
24
                                          III. CONCLUSION
25
            Based on the foregoing, and his prior filings (Dkt. Nos. 174, 175, 176, and 181), Doe
26
     requests that the Court grant him summary judgment and award him his fees and costs.
27


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 1         RESPECTFULLY SUBMITTED AND DATED this 1st day of November, 2019.
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 1                                     CERTIFICATE OF SERVICE

 2
            I, Adrienne D. McEntee, hereby certify that on November 1, 2019, I electronically filed
 3
     the foregoing with the Clerk of the Court using the CM/ECF system which will send
 4
     notification of such filing to the following:
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